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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT SEATTLE

10
     UNITED STATES OF AMERICA,
11
                            Plaintiff,
12
                                                                   CASE NO. CR06-425 MJP
            v.
13
                                                                   DETENTION ORDER
     JAIME SANCHEZ-RAMIREZ,
14
                            Defendant.
15

16
     Offenses charged:
17
            Count I - Conspiracy to Distribute Methamphetamine
18
                    (500 grams or more of mixture, 50 grams or more of actual methamphetamine)
19
            Count III - Conspiracy to Distribute Cocaine (500 grams or more)
20
     Date of Detention Hearing: 12/06/06
21
            The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based
22
     upon the factual findings and statement of reasons for detention hereafter set forth, finds that no
23
     condition or combination of conditions which defendant can meet will reasonably assure the
24
     appearance of defendant as required and the safety of any other person and the community.
25
     DETENTION ORDER - 1
26   18 U.S.C. § 3142(i)
        Case 2:06-cr-00425-MJP          Document 114         Filed 12/07/06      Page 2 of 3



 1               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         (1)     The drug offense with which defendant is charged in Count I carries a maximum

 3                 penalty of life imprisonment, with a mandatory minimum sentence of ten years. There

 4                 is therefore a rebuttable presumption that defendant will be detained.

 5         (2)     Despite the presence in court of defendant’s wife and family, in light of all the

 6                 circumstances, he has not effectively rebutted that presumption.

 7         (3)     Defendant is a citizen of Mexico, but has a “green card.”

 8         (4)     Law enforcement wiretaps revealed 21 pertinent calls where defendant was involved.

 9                 Although the conversations were conducted in coded language, they order negotiations

10                 for ordering and delivering various controlled substances.

11         (5)     Pretrial Services reports that defendant is associated with the use of nine alias names

12                 and four dates of birth.

13

14   It is therefore ORDERED:

15         (1)     Defendant shall be detained pending trial and committed to the custody of the Attorney

16                 General for confinement in a corrections facility separate, to the extent practicable,

17                 from persons awaiting or serving sentences or being held in custody pending appeal;

18         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                 counsel;

20         (3)     On order of a court of the United States or on request of an attorney for the

21                 Government, the person in charge of the corrections facility in which defendant is

22                 confined shall deliver the defendant to a United States Marshal for the purpose of an

23                 appearance in connection with a court proceeding; and

24

25
     DETENTION ORDER - 2
26   18 U.S.C. § 3142(i)
       Case 2:06-cr-00425-MJP        Document 114        Filed 12/07/06       Page 3 of 3



 1        (4)   The clerk shall direct copies of this order to counsel for the United States, to counsel

 2              for the defendant, to the United States Marshal, and to the United States Pretrial

 3              Services Officer.

 4        DATED this 7th day of December, 2006.

 5
                                                          /s/John L. Weinberg
 6                                                     JOHN L. WEINBERG
                                                       United States Magistrate Judge
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     DETENTION ORDER - 3
26   18 U.S.C. § 3142(i)
